                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       NO. 3:12-00206
                                                   )       JUDGE CAMPBELL
ARTURO DELGADO, et al.                             )

                                           ORDER

      The pretrial conference and/or change of plea hearing currently scheduled for July 14, 2014,

is RESCHEDULED for July 17, 2014, at 9:00 a.m.

      It is so ORDERED.

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                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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